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                   1   Mark S. Hardiman (_SBN 136602)
                       Lee S. Arian(SBN 137306)                                                  ~~I~ OC 2? P                     ~
 .~.~`             2   Katherine A. Bowles(SBN 287426
                       NELSON HARDIMAN LLP             ~                                               'I 1       a-~


                   3   1100 Glendon Avenue, 14th Floor                                            ~~ r~ ~ ~ x- , ~ ~ ,; , ~ `'
.
.~.~                   Los Angeles, CA 90024                                                                   ~ ~ r'': ~ ~ ~ ~ r:
         r-        4   Telephone: 310 203-2800                                                   ~•~~ --- ~~".- .. .__._._~,.,.~__.~....~.~_
                       Facsimile:    310 203-2727
                   5   Email: mhardiman@nelsonhaxdiman.com
             ~.               larian@nelsonhardiman.com
                   6          kbowles@nelsonhardiman.com
                   7 Attorneys for Relator
                     Advantage Analytics, LLC
                   8
                   9                      UNITED STATES DISTRICT COURT
                  10       CENTRAL DISTRICT OF CALIFORNIA —WESTERN DIVISION

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                       UNITED STATES OF A1V~RICA             CAS          ~..~.9 40 ~ ~'~~ K
Z ~ a             12   ex rel. ADVANTAGE
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Q   u ~           13   ANALYTICS,LLC,                        COMPLAINT FOR VIOLATIONS O
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                                                             THE FALSE CLAIMS ACT, 31 U.S.C.
    Q U           14                    Plaintiffs,          §§ 3729-3733
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    ~ W           15
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W IZ                        v.                                (FILED UNDER SEAL PURSUANT
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                  16
  ~o ~o                                                           TO 31 U.S.C.§ 3730(B)(2))
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                  17   LTNITEDHEALTH GROUP,INC., a
                       Delaware corporation; COTIVITI              DEMAND FOR JURY TRIAL
                  18   HOLDINGS,INC., a Delaware
                  19   Corporation; EQUTAN,LLC, an                 _.-
                       Indiana Limited Liability Company;
                  20   CHANGE HEALTHCARE,LLC ,a
                  21   Delaware limited liability company;                    ~~ "   ~~1~
                       MEDREVIEW,INC., a New York                              K,~ o►~trt~~~ours
                  22   corporation; CIOX HEALTH,LLC,                     ~`t ~~ co~~~ ~
                  23   a Georgia Corporation; HEALTH
                       MANAGEMENT SYSTEMS,INC.,
                  24   a Texas Corporation; SCIOINSPIRE,
                  25   CORP., a Delaware Corporation; and
                       OPIUM INC., a Delaware
                  26   Corporation,
                  27                     Defendants.
                  28

                                                       COMPLAINT
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                     .1         Plaintiff United States of America ("United States"), by and through Relator
                      2   Advantage Analytics, LLC ("Relator"), alleges as follows:
                      3                                  INTRODUCTION
                      4         1.    Relator brings this action on behalf of the United States of America
                      5   against UnitedHealth Group, Inc. ("IJHG"), including its Medicare Advantage
                      6   Organization("MAO")subsidiaries (collectively "United"), and United's recovery
                      7   audit contractors ("United RACs") for treble damages and civil penalties under the
                      8   False Claims Act, Title 31, United States Code, Sections 3729 — 3732("FCA").
                      9         2.    From 2017 to the present, United and its United RACs engaged in a
                     10   massive fraudulent scheme to maximize United's revenue from the Medicare
                     11   Advantage Program at the expense of both the United States Treasury and
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     Z ~ a           12   hospitals which provide necessary inpatient services to Medicare beneficiaries,
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                     13   including those enrolled in this Medicare managed care program, by knowingly
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     a ~a a U        14   retaining program risk adjustment payments for Hierarchal Condition Categories
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              W      15   ("HCC")diagnoses reported by United from inpatient hospital claims for Medicare
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     Z ~o ~a         16   beneficiaries despite rejecting those HCC diagnoses as a basis for paying the
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                     17   hospitals' claims.
                     18         3.    United's fraud scheme was three-pronged. First, United would report
                     19   patient HCC diagnoses from the hospitals' inpatient claims to the Center for
                     20   Medicare &Medicaid Services ("CMS") in order to obtain risk adjustment
                     21   payments for patients enrolled in United Medicare Advantage products. Second,
                     22   United would either deny the hospitals' inpatient claims containing such HCC
                     23   diagnoses entirely or would use United RACs to audit paid claims and
                     24   systematically assess and collect "overpayments" on the ground that the patient
                     25   HCC diagnoses supporting such risk adjustment payments were allegedly
                     26   medically unsupported and inadequately documented. Third, despite its obligation
                     27   under the Medicare Advantage Program to correct any errors in its submitted risk
                     28   adjustment data, United would fail to delete or correct the patient HCC diagnoses
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                     1   supporting its risk adjustment payments that were included in hospital impatient
                     2   claims that were denied or that the United RACs' later claim audits determined
                     3 ~ were erroneous, and would not refund the excess payments that it had received
                     4 ~ based on such diagnoses to CMS.
                     5         4.    Instead, by retaining the risk adjustment payments that United had
                     6   received based on HCC diagnoses reported in denied claims or for which the plan
                     7   later recouped audit overpayments, United knowingly concealed and improperly
                     8   avoided repaying to CMS the risk adjustment overpayments that United received
                     9   based on such diagnoses and which did not increase its cost of covering services
                    10   for Medicare Advantage patients, and the United RACs conspired with United to

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                    11   conceal and avoid United's resulting obligation to refund such overpayments. In
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                    12   2017 and 2018 alone, this massive fraud has conservatively caused United to
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     o ~a           13   wrongfully retain approximately $1 billion in risk adjustment overpayments that
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         Q U        14   United and the United RACs knew should not have been paid and that United was
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         c W        15   not entitled to keep. In addition, United was having its cake and eating it too by
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     Z oo ~a        16   keeping the CMS risk adjustment overpayments based on these incorrect HCC
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                    17   diagnoses while at the same time denying hospital claims containing such
                    18   diagnoses and using United R.ACs to recover claim overpayments for such
                    19   diagnoses from the hospitals.
                    20                            JURISDICTION AND VENUE
                    21         5.     This Court has subject matter jurisdiction under 28 U.S.C. § 1345.
                    22   The Court may exercise personal jurisdiction over United under 31 U.S.C. §
                    23   3732(a) because it was and is doing business within this District.
                    24         6.     Venue is proper in this District under 31 U.S.C. § 3732 and 28 U.S.C.
                    25   § 1391(b) because United transacted business in this District and a substantial part
                    26   of the events giving rise to the above-captioned action occurred in this District,
                    27   including United's denial of HCC diagnoses contained in inpatient claims for
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                                                            COMPLAINT
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                1   Medicare beneficiaries submitted by hospitals located in this District for which
                2   United knowingly retained Medicare Advantage risk adjustment payments.
                3         7.     Prior to filing this complaint, Relator voluntarily disclosed to the
                4   United States the information on which the allegations and transactions described
                5   in this action are based.
                6                                       PARTIES
                7                                            Relator
                8         8.     Relator brings this action on behalf of Plaintiff United States and its
                9   agency, the United States Department of Health and Human Services ("DHHS")
               10   and its component, CMS, which administers the Medicare Program. At all times
a o0           11   material to this action, CMS has been an agency within the DHHS and has
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Z              12   administered the Medicare Advantage Program, which paid benefits from funds
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o ~~           13   provided by the Federal Government. CMS provided Medicare benefits to
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    Q~         14   qualified recipients, which included payment of claims to United for its provision
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   W           15   of benefits to Medicare Advantage members.
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Zo~            16         9.     Relator Advantage Analytics, LLC is a Delaware limited liability
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               17   company with its principal place of business in Los Angeles, California. Relator
               18   has direct and independent knowledge of United's claim denials of Medicare
               19   Advantage patient HCC diagnoses submitted by a group of 40 hospitals and the
               20   financial impact of those HCC diagnosis denials on the Medicare Advantage risk
               21   adjustment payments received by United for those patients.
               22                                            Defendants
               23         10.    Defendant UnitedHealth Group, Inc. ("IJHG") is a Delawaxe
               24   corporation which, on information and belief, has its principal place of business
               25   located in Minnetonka, Minnesota. UHG is a diversified managed health care
               26   company that provides a vast array of healthcare products and services through its
               27   wholly owned subsidiaries, UnitedHealthcare, Inc., a health insurance company
               28   and defendant Optum, Inc., a health services company. Through its Medicare
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                      1   Advantage Organization ("MAO") :-subsidiaries, UHG operates Medicaxe
                      2   Advantage plans in all fifty states which cover care for over 4 million Medicare
                      3   beneficiaries. Those subsidiaries include the following MAO subsidiaries, all of
                      4   which are owned and controlled, directly or indirectly, by UHG: (a)
                      5   UnitedHealthcare     of   California,   Inc.,   a   California   corporation, (b)
                      6   UnitedHealthcare Community Plan, Inc., a Michigan corporation, (c) United
                      7   Healthcare of Florida, Inc., a Florida corporation, (d) United Healthcare of
                      8   Georgia, Inc., a Georgia corporation,(e) United Healthcare ofthe Midwest, Inc., a
                      9   Missouri corporation,(~ UnitedHealthcare of New England, Inc., a Rhode Island
                     10   corporation,(g) UnitedHealthcare of New Jersey, Inc., a New Jersey corporation,

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             a       11   (h) United Healthcare of Nevada,Inc., a Nevada corporation,(i) UnitedHealthcare
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     z LL Q          12   of Ohio, Inc., an Ohio corporation, (j) UnitedHealthcare of Pennsylvania, Inc., a
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     Q   ~   LL
                     13   Perulsylvania corporation, (k) United Healthcare of Texas, Inc., a Texas
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     Q ~¢Q   U       14   corporation, (1) AmeriChoice of New Jersey, Inc., a New Jersey corporation,(m)
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     ~ ~~WJ          15   AmeriChoice of Pennsylvania, Inc., a Pennsylvania corporation, and (n) Oxford
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     ZoN             16   Health Plans (NJ), Inc., a New Jersey corporation (collectively "United MAOs"
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       J             17   and, with UGH,"United").
                     18         11.   Defendant Cotiviti Holdings, Inc., doing business as Cotiviti
                     19   ("Cotiviti"), is a Delaware corporation which, on information and belief, has its
                     20   principal place of business in Atlanta, Georgia, and is a wholly owned subsidiary
                     21   of Verscend Technologies, Inc., a Delaware corporation. Between 2017 and the
                     22   present, Covititi contracted with United MAOs to audit the inpatient claims of
                     23   hospitals, including Medicare Sample Hospitals ## 2, 3, 5, 7, 8, 10, 17, 19, 20, 22,
                     24   23, 24, 25, 27, 30, 31, 32, 33, 34, 35, 36, 37, 38 and 40, to determine whether the
                     25   admissions were medically necessary and whether the reported diagnoses were
                     26   clinically supported and adequately documented.
                     27         12.   Defendant OmniClaim, Inc.("Omni"), is a Massachusetts corporation
                     28   which, on information and belief, has its principal place of business in Woburn,
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                 1   Massachusetts, which was acquired by Equian, LLC, an Indiana limited liability
                 2   company, in February 2018. Between 2017 and the present, Omni contracted with
                 3   United MAOs to audit the inpatient claims of hospitals, including Medicare
                 4   Sample Hospitals ## 1, 2, 3, 5, 6, 7, 8, 9, 10, 12, 13, 14, 16, 19, 20, 21, 23, 25, 27,
                 5   30, 32, 34, 35, 37 and 40, to determine whether the admissions were medically
                 6   necessary and whether the reported diagnoses were clinically supported and
                 7   adequately documented.
                 8         13.    Defendant Change Healthcare, LLC (formerly, Emdeon, Inc.), doing
                 9   business as Equiclaim ("Equiclaim"), is a Delaware limited liability company
                10   which, on information and belief, has its principal place of business in Nashville,

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                11   Tennessee. Between 2017 and the present, Equiclaim contracted with United
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Z               12   MAOs to audit the inpatient claims of hospitals, including Medicare Sample
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                13   Hospitals ## 3 4 5 10 12 15 20 24 25 26 29 30 31 > and 37 to determine
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Q ~aQ U         14   whether the admissions were medically necessary and whether the reported
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        W       15   diagnoses were clinically supported and adequately documented.
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ZoN             16         14.   Defendant MedReview, Inc. ("MedReview"), is a New York
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                17   corporation which, on information and belief, has its principal place of business in
                18   New York, New York and is a wholly owned subsidiary of New York County
                19   Health Services Review Organization, a New York state peer review organization.
                20   Between 2017 and the present, MedReview contracted with UHG and United
                21   MAOs to audit the inpatient claims of hospitals, including Medicare Sample
                22   Hospitals ## 2, 4, 8, 10, 15, 18, 19, 20, 23, 25, 28, 29, 31, 32, 34 and 38, to
                23   determine whether the admissions were medically necessary and whether the
                24   reported diagnoses were clinically supported and adequately documented.
                25         15.   Defendant Ciox Health, LLC, doing business as Ciox ("Ciox"), is a
                26   Georgia corporation which, on information and belief, has its principal place of
                27   business in Alpharetta, Georgia. Between 2017 and the present, Ciox contracted
                28   with United MAOs to audit the inpatient claims of hospitals, including Medicare
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                 1   Sample Hospitals ## 3, 5, 8, 10, 12, 25, 26, 27, 34, 35, 36, and 37 to determine
                 2   whether the admissions were medically necessary and whether the reported
                 3   diagnoses were clinically supported and adequately documented.
                 4         16.   Health Management Systems, Inc., doing business as HMS("HMS"),
                 5   is a Texas corporation which, on information and belief, has its principal place of
                 6   business in Irving, Texas and is a wholly owned subsidiary of HMS Holdings
                 7   Corp., a Delaware corporation. Between 2017 and the present, HMS contracted
                 8   with United MAOs to audit the inpatient claims of hospitals, including Medicare
                 9   Sample Hospitals ## 5, 9, 14, 17, 20, 25, 26 and 38, to determine whether the
                10   admissions were medically necessary and whether the reported diagnoses were
                11   clinically supported and adequately documented.
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                12         17.   Defendant SCIOInspire, Corp., doing business as SCIO Health
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                13   Analytics ("SCIO"), is a Delaware corporation which, on information and belief,
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    Q~          14   has its principal place of business in Hartford, Connecticut, and is a wholly owned
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~ ~ W   W       15   subsidiary of EXLService Holdings. Inc., a Delaware corporation. Between 2017
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Z o~ ~a         16   and the present, SCIO contracted with United MAOs to audit the inpatient claims
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                17   of hospitals, including Medicare Sample Hospitals ## 5, 8, 13, 16, 20, 23, and 32,
                18   to determine whether the admissions were medically necessary and whether the
                19   reported diagnoses were clinically supported and adequately documented.
                20         18.   Optum, Inc. ("Optum"), is a Delaware Corporation which, on
                21   information and belief, has its principal place of business in Eden Prairie,
                22   Minnesota, and is a wholly owned subsidiary of defendant UHG. Between 2017
                23   and the present, Optum contracted with United MAOs to audit the inpatient claims
                24   of hospitals, including Medicare Sample Hospitals ## 8, 10, 24, 25 and 27, to
                25   determine whether the admissions were medically necessary and whether the
                26   reported diagnoses were clinically supported and adequately documented.
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                                                       COMPLAINT
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              1                                      .STANDING
              2         19.    Relator is awaxe of a different and unrelated 2011 qui tam lawsuit
              3   entitled U.S. ex rel. Poehling v. UnitedHealth Group, Inc. et al. (CV 16-08697
              4   MWF (2016 C.D. Cal. 2016) filed against United in connection with its alleged
              5   failure to verify the accuracy of provider diagnoses that it reported to CMS to
              6   obtain risk adjustment payments for Medicare Advantage patients in which the
              7   United States has intervened and which is currently pending in the Central District
              8   of California. Under the FCA, if there is a prior public disclosure (including
              9   through a federal lawsuit) of allegations contained in a qui tam action, a relator
             10   must be the original source of the information underlying his or its lawsuit. 31
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             11   U.S.C. § 3730(e)(4)(A)(3).
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Z- _         12         20.    Relator. satisfies the original source requirement for two reasons. First,
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             13   the time 2017 to present time period during which Relator allege United violated
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      W      15   Poehling lawsuit. This different time period on its own suffices to factually
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             16   distinguish the present case from Poehling because United cannot continue
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             17   committing fraud simply because it was caught and sued by the government in an
             18   earlier FCA action relating to its failure to report accurate provider diagnoses for
             19   purposes of risk adjustment payments.
             20         21.    Second, the FCA violations giving rise to this action are factually
             21   different from those alleged in Poehling and involve a separate and distinct fraud
             22   scheme. The crux of the Poehling qui tam suit is the allegation that United failed
             23   to "look both ways" in conducting audits by correcting its risk adjustment data
             24   only for claim diagnoses that United determined were downcoded, but not for
             25   claim diagnoses that it knew or should have known had been upcoded by
             26   providers.   Thus, in Poehling, United was only selectively correcting claim
             27   diagnoses for which it would receive higher risk adjustment payments.
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              1         22.    Conversely, in this case, Relator does not allege ..that United was
              2   correcting claims one way or the other. Instead, Relator alleges that United is
              3   obtaining risk adjustment payments under false pretenses by submitting patient
              4   diagnoses for Medicaxe Advantage members and then issuing claim denials and
              5   overpayment demands to the hospitals for claims based on the same diagnoses.
              6   Therefore, United was not only being paid by CMS based on patient diagnoses that
              7   resulted in higher reimbursement, but was also denying the claims containing the
              8   same diagnoses or recouping the reimbursement that it paid to the hospitals based
              9   on the same diagnoses. As a result, United received additional CMS funds
             10   intended to reimburse the plan for the additional cost of paying for treatment of
      Y      11   Medicare patients, who were significantly sicker based on their reported diagnoses,
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Z ~ °'       12   even though United would deny the claims containing such diagnose or would later
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   ~LL       13   downcode those diagnoses and aggressively claw back claim payments made to the
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Q ~aQ U      14   hospitals who had actually treated the patients.
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     W       15         23.   By actively concealing this scheme from CMS, United falsely
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Z ~o aN      16   represented and certified to CMS that the diagnoses submitted in support of the
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             17   risk adjustment score to be calculated by CMS for patients were accurate,
             18   complete, and truthful even though it had actual knowledge though its claim
             19   denials and overpayment audits that the diagnoses were incorrect, but failed to
             20   delete or correct those diagnoses from its risk adjustment data. United thereby
             21   continued to represent to CMS that the risk adjustment payments made by CMS
             22   was being used to compensate Medicare providers for treating higher risk patients
             23   with particular diagnoses when, in fact, United denied the hospitals that
             24   compensation.
             25         24.   In other words, Relator does not allege that United merely failed to
             26   inform the government of misdiagnoses that would have led to reduced risk
             27   adjustment payments, as is the case in Poehling. Rather, Relator alleges that
             28   United is knowingly submitting diagnoses to increase risk adjustment payments
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                                                      COMPLAINT
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             1   and misrepresenting that it is compensating the. hospitals for claims based on these
             2   diagnoses when, in fact, it is denying the hospital claims or extracting the money
             3   from the hospitals that it initially paid on those claims for those diagnoses.
             4   Therefore, while this case and Poehling have some superficial similarities in that
             5   they each involve United and Medicare Advantage risk adjustment payments, the
             6   cases are otherwise entirely distinguishable. Further, as detailed below, Relator
             7   possesses and has analyzed the unique data in its possession to establish that
             8   United is engaged in this distinct scheme to defraud the Medicare Advantage
             9   program.
            10                             FACTUAL ALLEGATIONS
        a   11                            The Medicare Advantage Program
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Z           12         25.    Medicare is a federally run health insurance program benefitting those
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o ~~- ~LL   13   who are age 65 and older. and the disabled. Enacted in 1965, the program initially
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  Q~        14   consisted of Medicare Parts A and B, both insurance programs that cover inpatient
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~~W         15   and outpatient services, respectively. Under Parts A and B, Medicare pays
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ZoN         16   providers enrolled in these fee-for-service ("FFS") programs based on set fees -for
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            17   each service (or bundle of services) that they provide.
            18         26.   In 1997, Congress enacted Medicare Part C, under which Medicare
            19   beneficiaries can elect to enroll in a Medicare Advantage plan, a managed care
            20   plan administered by a private insurance company that has entered into a contract
            21   with CMS to be a MAO. Medicare Advantage plans provide all Medicare Parts A
            22   and B benefits, and most offer additional benefits beyond those covered under the
            23   original Medicare program. Under its federal contract, the MAO is paid a monthly
            24   fixed or "capitated" fee by the federal government to care for each Medicare
            25   Advantage plan enrollee regardless of the amount or type of health care services
            26   the member actually uses. Over the past few years there has been an upward trend
            27   in enrollment in the Medicare Advantage Program. Currently, about 27% of
            28   Medicare beneficiaries are enrolled in Medicare Advantage plans, with the
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              1   majority enrolled in Medicare Advantage HMOs.
              2           27.   Initially, CMS's capitated payments to MAOs were based solely upon
              3   enrollee demographic information, such as age and gender. In 2000, to improve
              4   the accuracy and fairness of payments, and to mitigate "cream-skimming" by
              5   Medicare Advantage plans (i.e., the preferential selection of the healthiest, low-
              6   cost/high return enrollees), CMS began implementing a new Medicare Advantage
              7   plan payment model —known as the CMS-Hierarchical Condition Category model
              8   ("CMS-HCC") —that uses demographic and diagnostic information to adjust the
              9   payment for each plan enrollee by assigning a "risk score," or "risk adjustment
             10   factor" ("R.AF") score, to each enrollee based on the health risk of each plan

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             11   enrollee and the predicted expenditures for that enrollee in the following year
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Z            12   relative to the national average.    Under this CMS-HCC model, CMS's risk
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             13   adjustment payments to a MAO are higher for plan enrollees with major medical
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a Q~ ~a      14   conditions(e.g•~ high RAF scores)and lower for healthY enrollees Ce.g•~ low R.AF
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         W   15   scores). This new risk adjustment reimbursement model became fully effective in
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Zo~          16   2007.     See Medicare Managed Care Manual ("MMCM"), Pub. # 100-16,
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  J          17 ("MMCM"),Ch. 7, §§ 20, 50, 70, 70.5.1, Ch. 8, § 50.
             18           28.   In order to obtain Medicare risk adjustment payments, CMS requires a
             19   MAO to submit accurate diagnosis codes from the International Classification of
             20   Diseases, 10th Edition, Clinical Modification ("ICD-IO-CM") for each condition
             21   that is supported by the enrollee's medical record. Under the CMS-HHC model,
             22   the primary indicator of each enrollee's health status is the ICD-IO-CM diagnosis
             23   codes assigned by Medicare Advantage plan providers to the enrollee and reported
             24   by the MAO in Risk Adjustment Processing System ("RAPS") files submitted at
             25   least quarterly to CMS through the agency's Front End Risk Adjustment System
             26   (FER.AS) and RAPS Database.         Healthy enrollees will have no ICD-IO-CM
             27   diagnoses codes, while less healthy enrollees may have multiple ICD-IO-CM
             28   diagnosis codes. The MAO's reported diagnosis codes drive the R.AF scores
                                                          11
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            1   assigned by CMS to Medicare Advantage enrollees for a particular year and those
            2   R.AF scores in turn drive CMS's risk adjustment payments to the MAO for those
            3   enrollees during the next year. See MMCM, Ch. 7, §§ 110, 120, 120.1.1, 120.2,
            4   120.2.3, 120.2.7.
            5         29.    CMS groups the ICD-IO-CM diagnosis codes that it receives from the
            6   MAO plan into separate disease categories known as Hierarchal Condition
            7   Categories or HCCs. The HCCs are based upon the type of disease and the costs
            8   of treating that disease. A plan enrollee may have one or more HCCs. Based on
            9   the enrollee's HCCs and demographics, CMS calculates the R.AF score for the
           10   enrollee which determines the risk adjustment payment —consisting of the
           11   Medicare Advantage plan's base capitation rate multiplied by the enrollee's risk
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Z          12   score y to be made to the MAO for that plan enrollee for the next year. The higher
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           13   an enrollee's RAF score, the higher the risk adjustment payment. Generally, only
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a ~¢Q U    14   ICD-IO-CM codes associated with major medical conditions (e.g., diabetes,
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      W    15   cancer, heart disease, kidney failure, respiratory failure, major psychiatric
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ZoN        16   disorders,) will result in increased CMS risk adjustment payments to the MAO.
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           17   The CMS-HCC models "are prospective in the sense that they use diagnosis
           18   information from a base year to predict costs for the next year." See MMCM,Ch.
           19   7, §§ 70, 70.1, 110, Ch. 8, § 50.
           20         30.    Each calendar year, CMS adjusts each Medicare Advantage plan
           21   enrollee's RAF score based on the array of ICD-IO-CM diagnoses reported in the
           22   MAO's claims during the prior year. Ifthe provider claims for the enrollee during
           23   that year do not contain the same ICD-IO-CM diagnosis codes supporting the prior
           24   R.AF score, then CMS will lower the enrollee's applicable RAF score for the next
           25   year. As stated in the Medicare Managed Care Manual, "Beneficiary risk scores
           26   are used to adjust each plan's base payment rate for member health status. The
           27   RAF score is computed for each beneficiary for a given year and applied
           28   prospectively. The R.AF score follows the beneficiary for one calendar year." See
                                                       12
                                                    COMPLAINT
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             1   MMCM,Ch. 8,§ 50.
             2         31.    The MAO's reporting of ICD-IO-CM diagnoses for plan enrollees
             3   determines what HCC codes are assigned by CMS to the Medicare Advantage plan
             4   enrollees. CMS is unable to verify the accuracy of ICD-IO-CM diagnosis codes
             5   when the MAO submits them because the agency is not provided with supporting
             6   medical documentation at the time of such submission. Instead, CMS relies upon
             7   the MAO to submit accurate and medically supported ICD-IO-CM codes diagnoses
             8   in the first instance, and also to delete any diagnoses later determined by the MAO
             9   to be incorrect because the MAO's reporting of unsupported ICD-IO-CM codes for
            10   major medical conditions will improperly increase CMS's risk adjustment

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       a    11   payments to the MAO.
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z~ a        12         32.    Unfortunately, this system creates an incentive for MAOs to
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            13   improperly inflate their enrollees' capitation rates. With data for millions of people
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Q ~¢Q U     14   being submitted each year, CMS is unable to confirm diagnoses before calculating
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       W    15   capitation rates. Instead, the agency accepts the diagnoses as submitted, and then
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Z ~o ¢~     16   audits some of the self-reported data a few years later to ensure that they are
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            17   adequately supported by medical documentation. See 42 C.F.R. §§ 422.310(e),
            18   422.311; Contract Year 2015 Policy and Technical Changes to the Medicare
            19   Advantage and the Medicare Prescription Drug Benefit Programs, 79 Fed. Reg.
            20   1918, 2001 (Jan. 10, 2014). These audits have revealed excess payments for
            21   unsupported diagnoses steadily increasing over the last decade, reaching an
            22   estimated $16.2 billion—nearly ten cents of every dollar paid to MAOs—in 2016
            23   alone. See James Cosgrove, U.S. Gov't Accountability Office, GAO-17-761 T,
            24   Medicare Advantage Program Integrity: CMS's Efforts to Ensure PropeY
            25   Payments and Identify and Recover Improper Payments, 1 (2017), available at
            26   https://vwvw.gao.gov/assets/690/ 685934.pdf; James Cosgrove, U.S. Gov't
            27   Accountability Office, GAO-13-206, Medicare Advantage: Substantial Excess
            28   Payments Underscore Need fog CMS to Improve Accuracy of Risk Score
                                                          13
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                1   Adjustments, 9-10 (2013), available at https://www.gao.gov/assets/660/ 651712.
                2   pdf.
                3          33.    Each year, the MAO must sign an attestation form certifying upon
                4   best knowledge, information, and belief that the ICD-IO-CM diagnosis codes and
                5   other risk adjustment information submitted to CMS were accurate, complete, and
                6   truthful.    42 C.F.R. § 422.504(1)(2). The attestation form also contains an
                7   acknowledgment by the MAO that the diagnoses submitted directly affect the
                8   calculation of CMS risk adjustment payments to the MAO's Medicare Advantage
                9   plans. Under Medicare regulations, this MAO certification is false "when the
               10   Medicare Advantage organization has actual knowledge of the falsity of the risk

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               11   adjustment data or demonstrates either `reckless disregard' or `deliberate
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    Z ~Q       12   ignorance' of the truth or falsity of the data." 42 C.F.R. § 422.504(1).   U.S. v.
    a ~Z
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               13   United Healthcare Insurance Company, 848 F.3d 1161, 1169 (9th Cir. 2016),
        C J


      Q~       14   citing 65 Fed. Reg. 40170, 40268 (June 29, 2000). The importance of accurate
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       W       15   data certifications is obvious: if patient diagnoses are overstated, then the
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    Z ~o ¢N    16   capitation payments to MAOs will be improperly inflated.
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               17          34.    Like all Medicare providers, a MAO must return any overpayments
               18   based on its reported risk adjustment data to CMS within 60 days after the date on
               19   which it identified it received an overpayment. 42 U.S.C. § 1320a-7k(d). A
               20   MAO's failure to return an overpayment is actionable under the FCA as a reverse
               21   false claim. Id. at § 1320a-7k(d)(3).
               22                              United's Medicare Advantage Fraud
               23          35.    Relator Advantage Analytics, LLC is affiliated with a group of 40
               24   hospitals in 13 states (collectively, the "Medicare Sample Hospitals") that serve
               25   thousands of Medicare Advantage patients, many of whom are beneficiaries of
               26   United's Medicare Advantage plans. By helping serve the needs ofthese Medicare
               27   Advantage beneficiaries treated at the Medicare Sample Hospitals, Relator has
               28   developed significant expertise with the laws applicable to the Medicare
                                                            14
                                                       COMPLAINT
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                 1   Advantage Program as well as the HCC model that governs MAO reimbursement.
                 2         36.    In 2017, the Medicare Sample Hospitals began receiving an unusual
                 3   number of overpayment demands from United MAOs based on United RACs'
                 4   claim audits in connection with their 11,280 claims for healthcare services
                 5   provided to United's Medicare advantage beneficiaries. As one of the biggest
                 6   Medicare Advantage plans and commercial insurance plans in the United States,
                 7   United applied significant pressure on these Medicare Sample Hospitals to refund
                 8   claim payments, either in whole or in part, based on United's and the United
                 9   R.ACs' determination that certain diagnoses reported on their claim forms for
                10   Medicare Advantage plans were medically unsupported or inadequately
                11   documented.      For example, during 2017, United assessed and collected
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    Z i °'a     12   approximately $4.4 million in overpayments based on United RAC claim audits for
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                13   denied diagnoses from the approximate $12.9 million in reimbursement initially
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        Q U a   14   paid to the Medicare Sample Hospitals for their services to Medicare Advantage
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    ~ ~~WJ      15   beneficiaries.
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    Z ~o aN     16         37.    While MAO audits and overpayment demands are routine occurrences
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                17   for a group of 40 hospitals, United's audit overpayment demands to the Medicare
                18   Sample Hospitals based on the United RACs' audits were a statistical anomaly
                19   compared to its prior history of audits and were also typically initiated well over
                20   year after the claims were submitted and paid. Relator also immediately noticed
                21   that a significant number of United's overpayment demands based on the United
                22   RACs' audits were based on its denial of Medicare Advantage patient diagnoses
                23   that qualified as HCCs which United would have reported for those patients to
                24   CMS for Medicare risk adjustment purposes.
                25         38.   In 2018, United's and the United RACs' Medicare Advantage audits
                26   and overpayment demands to the Medicare Sample Hospitals continued. In a May
                27   2018 provider bulletin, United announced that it was formally implementing a
                28   Medicare Advantage risk adjustment data validation ("RADV") audit program
                                                             15
                                                       COMPLAINT
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                 1   through its vendor, defendant Ciox, in June 2018 and would be requesting medical
                 2   records from a random selection of providers within a specified 2017 service date
                 3   range to check the accuracy of reported patient data, including diagnoses.
                 4   Likewise, in May 2018, UHG announced that MedReview would begin auditing
                 5   the validity of diagnosis related group("DRG")coding on hospital inpatient claims
                 6   beginning on June 1, 2018.
                 7         39.   Examples of the United MAOs' and United R.ACs' denials of
                 8   diagnoses for Medicare Advantage patients treated at the Medicare Sample
                 9   Hospitals in 2017 and 2018 include the following:
                10               a.     On March 15, 2017, United denied ICD-10 code J96.21 (acute

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            a   11   and chronic respiratory failure with hypoxia) as secondary diagnosis which is
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                12   categorized under HCC 84 for Sample Patient # 4, who was seen and treated at
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                13 '~ Medicare Sample Hospital # 7 between February 14 and 24,2017;
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    = a v       14               b.    On September 18, 2017, United denied ICD-10 Code N17.9
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            W   15 (acute kidney failure, unspecified) which is categorized under HCC 135 for
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    Z oo aN     16   Sample Patient # 6, who was seen and treated at Medicare Sample Hospital # 38
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                17   between March 14 and 17, 2017;
                18               c.    On October 18, 2017, United denied ICD-10 code I21.4 (non-
                19   ST elevation (NSTEMI) myocardial infarction) which is categorized under HCC
                20   86 for Sample Patient # 3, who was seen and treated at Medicare Sample Hospital
                21   # 18 between March 19 and 22, 2017;
                22               d.    On December 4, 2017, United denied ICD 10 code J69.0
                23 (pneumonitis due to inhalation offood and vomit)that is classified under HCC 114
                24   for Sample Patient # 1, who was seen and treated at Medicare Sample Hospital # 3
                25   between June 5 and 10, 2017;
                26               e.    On April 12, 2018, United denied an inpatient claim containing
                27   ICD-10 codes A4101 (sepsis due to methicillin susceptible staphylococcus aureus)
                28   and R6521(severe sepsis with septic shock) which are grouped under HCC 2,
                                                            16
                                                       COMPLAINT
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                 1   ICD-10 code J690-(pneumonitis due to inhalation of food and vomit) which is
                 2   grouped under HCC 114, and ICD-10 code J9601 (acute respiratory failure with
                 3   hypoxia) which is grouped under HCC 84 for Sample Patient # 14, who was seen
                 4   and treated at Medicare Sample Hospital # 16 between February 9 and 11, 2018;
                 5                f.     On May 8, 2018, United denied ICD-10 code A41.9 (sepsis,
                 6   unspecified organism) which is grouped under HCC 2 for Sample Patient # 8, who
                 7   was seen and treated at Medicare Sample Hospital # 28 between October 18 and
                 8   26,2017;
                 9                g.    On July 27, 2018, United denied ICD-10 code E43 (severe
                10   protein calorie malnutrition) which is grouped under HCC 21 for Sample Patient #
           N    11   15, who was seen and treated at Medicare Sample Hospital # 28 between
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    Z           12   November 2 and 4, 2017.
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    o ~LL       13                h.    On August 10, 2018, United denied ICD-10 Code A40.3 (sepsis
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    a ~`Q U     14   due to streptococcus pneumoniae) which is grouped under HCC 2 for Sample
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    ~9W C   W   15   Patient # 7, who was seen and treated at Medicare Sample Hospital # 32 between
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    Z ~o aN     16   January 24 and 28, 2018;
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                17                i.    On August 23,2018, United denied ICD-10 code N1709 (acute
                18   kidney failure with tubular necrosis) which is grouped under HCC 135 for Sample
                19   Patient # 11, who was seen and treated at Medicare Sample Hospital # 25 between
                20   August 20 and 24, 2018;
                21               j.     On August 29, 2018, United denied ICD-10 code M4856XA
                22   (collapsed vertebra, not elsewhere classified, lumbar region, initial encounter for
                23   fracture) which is categorized under HCC 169 for Sample Patient # 2, who was
                24   seen and treated at Medicare Sample Hospital # 25 between May 9 and 15, 2018;
                25               k.     On September 28, 2018, United denied ICD-10 code
                26   I5021(acute systolic (congestive) heart failure) which is grouped under HCC 85 for
                27   Sample Patient # 13, who was seen and treated at Medicare Sample Hospital # 26
                28   between May 21 and 25,2018;
                                                             17
                                                        COMPLAINT
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             1                 1.    On October 12, 2018, United denied ICD-10 code N17.0 (acute
             2   kidney failure with acute tubular necrosis) which is categorized under HCC 135 for
             3   Sample Patient # 5, who was seen and treated at Medicare Sample Hospital #18
             4   between June 23 and 28,2018;
             5                 m.    On October 26, 2018, United denied ICD-10 A41.9 (sepsis,
             6   unspecified organism), which is grouped under HCC 2 for Sample Patient # 9, who
             7   was seen and treated at Medicare Sample Hospital # 35 between June 2 and 12,
             8   2018;
             9                 n.    On February 13, 2019, United denied ICD-10 code A41.9
            10   (sepsis, unspecified organism) which is grouped under HCC 2 for Sample Patient #
       N    11   10, who was seen and treated at Medicare Sample Hospital # 34 between May 27
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Z~ Q        12   and 30, 2018; and
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o ~~LL~     13                 0.    On April 11, 2019, United denied ICD-10 code A4151 (sepsis
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a ~aQ U     14   due to escherichia coli) which is grouped under HCC 2 for Sample Patient # 12,
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       W    15   who was seen and treated at Medicare Sample Hospital # 8 between April 6 and 9,
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            16   2019.
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            17           40.   Based on the sheer volume of United's overpayment demands to the
            18   Medicare Sample Hospitals based on the United RACs' audits of only one subset
            19   of United's Medicare beneficiaries —Medicare Advantage patients —and involving
            20   the denial of diagnoses previously reported by United to CMS that qualified as
            21   HCCs resulting in higher Medicare risk adjustment payments to United for those
            22   patients, Relator questioned whether United was correcting and deleting these
            23   diagnoses in its prior risk adjustment data submissions to CMS and refunding any
            24   risk adjustment overpayments that it received as a result of those diagnoses. As a
            25   result, Relators performed and supervised a complex statistical analysis to
            26   determine whether United could obtain the level of CMS risk adjustment payments
            27   it was receiving given the rate at which United was later denying HCC diagnoses
            28   supporting those payments based on United RAC audits and also denying claims
                                                        18
                                                   COMPLAINT
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             1   containing such HCC diagnoses without any payment at all.
             2                a.    United Risk Adjustment Overpayments for 2017
             3                      Medicaxe Sample Hospital MA Patients With Denied
             4                      HCC Dia n
             5         41.    As reflected in its annual reports, United's Medicare Advantage plans
             6   covered 4,430,000 million Medicare beneficiaries in 2017 and 4,940,000 Medicare
             7   beneficiaries in 2018. Medicare Advantage paid United an average monthly base
             8   rate per member of $816 in 2017 and $842 for 2018. United's total revenue from
             9   the Medicare Advantage program was therefore approximately $43.4 billion in
            10   2017 and $49.9 billion in 2018.

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            11         42.    In order to assess the financial impact of United's and the United
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            12   R.ACs' denial of diagnoses that had been previously reported to CMS in support of
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            13   the risk adjustment payments that United received, Relator first calculated what
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Q ~aQ U     14   United's Medicare Advantage risk adjusted payments would have been in 2018
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~ ~~WW      15   based on the 2017 RAF scores for 509 Medicare Advantage patients for whom
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Z ~o aN     16   claims were submitted at the 40 Medicare Sample Hospitals in 13 states before
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            17   United's and the United RACs' later audits denied HCC diagnoses for such
            18   patients.   As set forth in the chart below, after normalization and coding
            19   adjustments for the Medicare Sample Hospitals,l the average R.AF score for these
            20   509 patients was 2.013 which, based on the various regional Medicare Advantage
            21   base payment rates, would have resulted in United risk adjusted payments totaling ~
            22   an estimated $10,582,322, with HCC inpatient diagnoses accounting for
            23   approximately $3.7 million in reimbursement and the remaining $6.8 million
            24
            25   1 CMS's normalization factor is a downward adjustment to adjust the Medicare
                 Advantage beneficiaries' RAF scores to that of FFS data so that the average RAF
            26   risk score in subsequent years is 1.0 and its coding pattern adjustment recalibrate
            27   this FFS coding data. These CMS factors are available at hops://v~vww.
                 cros.gov/medicare/health-plans/medicareadvtgspecratestats/ownloads
            2g   /announcement2017.pdf.
                                                         19
                                                    COMPLAINT
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             1   attributable to. HCC diagnoses made in the hospitals' outpatient or post-acute care
             2   settings:
             3     CMS    Number          Sample Patients   2018 Region 2018 United
             4     Region of Patients     Average RAF Score Base Rate   MA Payments

             5
                   10         8           2.055                 832.71         $164,289.35
             6     24         104         1.935                 859.3          $2,074,941.41
                   9          13          1.946                 871.5          $264,604.19
             7
                   8          45          1.877                 833.92         $845,248.99
             8     18         31          2.350                 853.13         $745,738.92
             9     11         1           3.254                 831.05         $32,449.15
                   15         12          2.392                 832.1          $286,609.82
            10     4          144         1.964                 873.77         $2,965,120.46
            11     22         16          1.866                 901.63         $323,071.29
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J LL rn
                   12         8           2.413                 842.56         $195,146.40
Z           12     6          3           2.586                 839.39         $78,130.18
Q ~~Z
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Q   ~ LL
            13     2          58          2.141                 837.9          $1,248,784.79
    C J
    d   Q
                   17         66          1.946                 881.12         $1,358,187.35
    a U     14
Z   ~ N
                   Totals     509         2.013                                $10,582,322.30
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Z oN        16          43.    Next, Relator calculated the impact on the RAF scores of the 509
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            17   Medicare Advantage patients of United's and the United RACs' subsequent audit
            18   denials of HCC diagnoses reported by the Medicare Sample Hospitals for such
            19   patients. This .analysis was limited to United's and the United RACs' denials of
            20   HCC inpatient diagnoses only reportable by hospitals (comprising 87% of the
            21   denials) and did not include HCC outpatient and post-acute care diagnoses
            22 (comprising 13% of the denials) since these latter diagnoses could be reported to
            23   United by other providers. The 154 HCC inpatient diagnoses denied by United
            24   were as follows:
            25    HCC ICD-10                         Code Description                  Number
            26        Code                                                             of Denials
            27    2      A419          Se sis, uns ecified organism                    43
                  135    N170          Acute kidney failure with tubular necrosis      37
            28    21     E43           Uns ecified severe rotein-calorie               24
                                                        20
                                                   COMPLAINT
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                 d
                                           malnutrition
                 2    84      J9621        Acute and chronic respiratory failure with       6
                                           h oxia
                 3    114     J690         Pneumonitis due to inhalation offood and         5
                 4                         vomit
                      135    N179          Acute kidne failure, uns ecified                 5
                 5    114    J156          Pneumonia due to other Gram-negative             4
                 6                         bacteria
                      21     E441          Mild rotein-calorie malnutrition                 3
                 7
                      86     I214          Non-ST elevation(NSTEMI)myocardial               3
                 8                         infarction
                      85     I5033         Acute on chronic diastolic (congestive) heart    3
                 9
                                          failure
                10    85     I5043         Acute on chronic combined systolic               3
                                          (congestive) and diastolic (congestive) heart
                11
    a o0O   N
                                          failure
    J — ~
    J LL rn

    z~ ¢        12    84     J9600         Acute respiratory failure, unspecified whether   3
    a ~Z                                   with h oxia or h erca nia
    o ma        13
    Q
        ~
        d
            J
            Q
                      84     J9601         Acute res iratory failure with h oxia            3
        Q U     14    2      R6511         Systemic inflammatory response syndrome          2
    o ~W
    Z   ~ W
                                          (SIRS)ofnon-infectious origin with acute
        ~
        ~ W
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    W c~ z                                 or and sfunction
    Zo<         16
     ~o ~o            21     E440          Moderate rotein-calorie malnutrition             1
        ~ J

                17    21     E46           Uns ecified rotein-calorie- malnutrition         1
                      84     I462          Cardiac arrest due to underlying cardiac         1
                18                         condition
                19    85     I5021         Acute systolic (congestive).heart failure        1
                      85     I5031         Acute diastolic (congestive) heart failure       1
                20
                      84     J9620         Acute and chronic respiratory failure,           1
                21                         unspecified whether with hypoxia or
                                           h erca nia
                22
                      84     J9690         Respiratory failure, unspecified, unspecified    1
                23                         whether with h oxia or h erca nia
                     33      K567         Ileus, uns ecified                                1
                24
                     21      R64           Cachexia                                         1
                25   2       R6520         Severe se sis without septic shock               1
                26
                            44.   The cumulative HCC R.AF score for these 2017 HCC diagnosis codes
                27
                     from Medicare Sample Hospitals denied by United FY was 0.579. On information
                28
                                                            21
                                                       COMPLAINT
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                 1   and belief, United's failure to delete or correct these HCC diagnosis codes
                 2   submitted to CMS therefore resulted in a risk adjustment overpayment of
                 3   $3,051,139 with respect to the Medicare Advantage patients treated at the
                 4   Medicare Sample Hospitals, as follows:
                 5    CMS       Number      Average      Normalized   MA coding        2018     2018 United MA
                      Region    of          RAF Score    RAF score    pattern          Region   Overpayment
                6               Patients    for Denied                adjusted score   Base
                 7                          HCCs                                       Rate
                      10        8           0.433        0.426        0.401            832.71   $32,023.99
                 8    24        105         0.511        0.503        0.473            859.3    $512,032.48
                      9         13          0.658        0.647        0.609            871.5    $82,745.83
                9     8                     0.666        0.655        0.616            833.92   $277,321.44
                                45
                10    18        31          0.626        0.615        0.579            853.13   $183,706.15
                      15        12          0.577        0.568        0.534            832.1    $63,997.36
    ~
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                11    4         144         0.893        0.878        0.827            873.77   $1,247,976.44
    O ~
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J   LL rn
                12    22        16          0.298        0.293        0.276            901.63   $47,727.46
Z ~ Q
Q .- Z                12        8           0.683        0.672        0.632            842.56   $51,126.07
o ~; o          13    2         58          0.484        0.476        0.447            837.9    $260,935.21
    C   J
Q ~~                  17        66          0.452        0.444        0.418            881.12   $291,547.43
    Q U         14
                      Total:    509                                                             $3,051,139.85
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                16                    b.    United Risk Adjustment Overpayments for 2017
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                17                          Medicare Sample Hospital MA Patients With Zero Pay
                18                          Claims
                19         45.        In addition, on information and belief, United also failed to correct or
               20    delete the 2017 HCC diagnosis codes that it reported to CMS for 846 Medicare
               21    Advantage patients for whom the Medicare Sample Hospitals submitted claims
               22    that United paid zero dollars on. These 417 HCC inpatient diagnoses were as
               23    follows:
               24    HCC        ICD-10                           Code Description                     Number
               25               Code                                                                  of Denials

               26    135        N179           Acute kidne failure, uns ecified                       56
                     135        N170           Acute kidney failure with tubular necrosis             52
               27
                     21         E43            Uns ecified severe rotein-calorie malnutrition         50
               28    2          A419           Sepsis, unspecified organism                           36
                                                                 22
                                                             COMPLAINT
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                 1   21     ~E440     Moderate rotein-calorie malnutrition            27
                 2   21      E441     Mild rotein-calorie malnutrition                25
                     85      I5033   Acute on chronic diastolic (congestive) heart    25
                 3                   failure
                 4   84     J9621    Acute and chronic respiratory failure with       20
                                     h oxia
                 5   86     I214     Non-ST elevation(NSTEMI)myocardial               14
                 6                   infarction
                     84     J9600    Acute respiratory failure, unspecified whether   13
                 7
                                     with h oxia or h erca nia
                 8   84     J9601    Acute res iratory failure with h oxia            13
                     85     I5023    Acute on chronic systolic (congestive) heart     12
                 9
                                     failure
                10   85     I5043    Acute on chronic combined systolic               10
       a        11                  (congestive) and diastolic (congestive) heart
    a o0O

    J - ~
            N
                                    failure
    J LL m

    Z=          12   2      R6510    Systemic inflammatory response syndrome          10
    a ~Z                            (SIRS)ofnon-infectious origin without acute
    _ d~
    o ~LL
                13
        C   J                        or an dysfunction
    Q   ~ Q
    = Q U       14   21     E46      Uns ecified rotein-calorie malnutrition          8
    Z
      ~WC

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            ~

                     84     J9620    Acute and chronic respiratory failure,           8
                15
      ~~
    W IZ
        ~   W

                                     unspecified whether with hypoxia or
    Z oN        16
      ~o                             hypercapnia
        ~ J

                17   87     I249     Acute ischemic heart disease, uns ecified        7
                     84     J9622    Acute and chronic respiratory failure with       6
                18                   h erca nia
                19   169    M4856XA Collapsed vertebra, not elsewhere classified,     4
                                     lumbar re ion, initial encounter for fracture
                20   85     I5031    Acute diastolic con estive) heart failure        3
                21   114    J156    Pneumonia due to other Gram-negative              3
                                     bacteria
                22
                     21     R64      Cachexia                                         3
                23   96     I472     Ventricular tach cardia                          2
                     114    J690    Pneumonitis due to inhalation offood and          2
                24
                                    vomit
                25   84     J9690   Respiratory failure, unspecified, unspecified     2
                26                  whether with h oxia or h erca nia
                     33     K5660   Uns ecified intestinal obstruction                2
                27   169    M4855XA Collapsed vertebra, not elsewhere classified,     2
                28                  thoracolumbar re ion, initial encounter for
                                                        23
                                                   COMPLAINT
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           1                               fracture
           2    2          R6520           Severe se sis without se tic shock                 2

           3             46.      The cumulative HCC R.AF score for these 2017 HCC diagnosis codes
           4   reported in the Medicare Sample Hospitals' claims for which United paid zero was
           5   1.597. United's failure to delete or correct these HCC diagnosis codes submitted
           6   to CMS therefore resulted in a risk adjustment overpayment of $12,723,976.97
           7   with respect to the Medicare Advantage patients treated at the Medicare Sample
           8   Hospitals, as follows:
           9
                CMS        Number        Average     Normalized   MA coding     2018        2018 United
          10    Region     of Patients   RAF Score   RAF score    pattern       Region      MA
                                         for Zero                 adjusted      Base Rate   Overpayment
   ~ N
          11                             Pay HCCs                 score
   ~ O
J - ~
J a m
                10         12            1.575       1.549        1.457         $832.71     $174,726.73
z= a
          12    24         169           1.704       1.676        1.576         $859.30     $2,747,292.30
Q  z
o ~a
~  ~
          13    9          43            1.432       1.408        1.325         $871.50     $595,775.48
   ~ J          8          31            1.703       1.675        1.576         $833.92     $488,769.95
Q Qd Q
     U    14    18         83            1.509       1.484        1.396         $853.13     $1,186,277.54
Z
o =~
  ~W
   ~ J
          15    11         238           1.572       1.546        1.454         $831.05     $3,451,917.55
   ~ W
J °' ~
w ~Z            22         22            1.704       1.676        1.576         $901.63     $375,253.18
Z oo ay   16    12         2             0.995       0.978        0.920         $842.56     $18,605.42
     O
   ~ J
                6          14            1.679       1.651        1.553         $839.39     $219,051.53
          17
                2          156           1.697       1.669        1.570         $837.90     $2,462,648.30
          18    17         76            1.350       1.327        1.249         $881.12     $1,003,659.00
                Totals     846'                                                             $12,723,976.97
          19
          20                      b.     Estimated United Risk Adjustment Overpayments for
          21                             Tota12017 MA Population
          22         47.          While Relator has been unable to confirm whether United was
          23   denying HCC diagnosis codes at other hospitals at the same rate as for Medicare
          24   Sample Hospitals without correcting or deleting such those HCC diagnosis codes
          25   from its 2017 RAP data , an extrapolation of United's denial rate for the Medicare
          26   Sample Hospitals to the entire Medicare Advantage population of 4,430,000
          27   million in 2017 results in an estimated annual risk adjustment overpayment of
          28   $169,150,945, as follows:
                                                             24
                                                        COMPLAINT
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              1        Total Medicare MA population                             4,430,000
              2       Medicare managed care hospital IP utilization rate        25%
              3      Percentage of Medicare Sample Hospital IP denials with     3%
                     diagnosis code denials
              4
                     Percentage of Medicare Sample Hospital diagnosis           87%
              5
                     denials with HCC impact
              6      Average R.AF score of Medicare Sample Hospital denied      0.626
              7      HCC diagnosis codes
              8      Normalized R.AF score of Medicare Sample Hospital 0.616
              9      denied HCC diagnosis codes

             10      MA coding pattern adjusted score                           0.579
             11
a o0 O   N
                     Monthly United risk adjustment overpayment for total ~14,095,912
J — ~
J LL rn

Z = a
             12      Medicare MA population
Q ~ Z
~
_ ~~~
             13
Q    ~ LL

     C J
                     Yearly United risk adjustment overpayment for total ~169,150,945
~~
if
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     d Q
             14      Medicare MA population
Z    ~ N
O    ~ W

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     ~ J
             15        48.    Similarly, an extrapolation of United's zero payment rate for the
J "' ~
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     o y
             16   Medicare Sample Hospitals to the entire Medicare Advantage population of
         O
     ~ J

             17   4,430,000 million in 2017 results in an estimated annual risk adjustment
             18   overpayment of$899,421,788, as follows:
             19
                     Total Medicare MA population                               4,430,000
             20
                     Medicare managed care hospital IP utilization rate         25%
             21
                     Percentage of Medicare Sample Hospital IP denials with     17%
             22      zero payment
             23      Percentage of Medicare Sample Hospital diagnosis zero      32%
                     pay denials with HCC impact
             24
                     Average RAF score of Medicare Sample Hospital denied       1.597
             25      HCC diagnosis codes with zero pay
             26
                     Normalized RAF score of Medicare Sample Hospital 1.570
             27      denied HCC diagnosis codes with zero pay
             28
                                                         25
                                                    COMPLAINT
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                       1
                               1VlA coding pattern adjusted score                           1.477
                       2
                       3       Monthly United risk adjustment overpayment for total ~~4,951,816
                               Medicare MA population
                       4
                       5       Yearly United risk adjustment overpayment for total
                                                                                   ~g99,421,788
                               Medicare MA population
                       6
                       7
                                        c.    United's Retention of MA Overpayments Based on Incorrect
                       8
                                              HCC Diagnoses That It Knowingly Failed to Correct
                       9
                                 49.    Relator's statistical studies demonstrate that when adjusted for denials
                      10
                           of Medicare Sample Hospital claims by United based on or including incorrect
          O   N
                      11
     a ,~
                           HCC diagnoses, the risk adjustment payments made to United in 2017 and 2018
     J ” °'
     Z                12
     Q =^ Za               would have decreased significantly, thereby creating an obligation on the part of
     ~ ~a
     Q    ~ LL
                      13
          C J
                           United to correct the HCC diagnoses relied on by CMS to calculate those payments
     Q ~a
    = Q U             14
     o ~W
    Z     c N
                           and to pay back to CMS the overpayments made based on those incorrect
     ~ 9~WJ           15
     J "' ~
     W IZ                  diagnoses.
     Z ~a o y
                      16
              O
                                 50.    On information and belief, United knowingly failed to delete the HCC
                      17
                           diagnoses for Medicare Advantage patients treated at the Medicare Sample
                      18
                           Hospitals reported to RAPS in 2017 and 2018 that its subsequent claim denials and
                      19
                           MAO audits identified as incorrect and failed to refund to CMS the excess risk
                     20
                           adjustment payments that it received from CMS based on those diagnoses. On
                     21
                           information and belief, including United's 2018 announcement that its RADV
                     22
                           audits would apply to all MA providers, United also knowingly retained risk
                     23
                           adjustment overpayments that it received for incorrect HCC diagnoses for
                     24
                           Medicare Advantage patients treated at other hospitals that its claim denials and
                     25
                           audits identified as incorrect, but that United failed to delete from its prior RAPS
                     26
                           submissions for the relevant Medicare Advantage patients.
                     27
                                 51.    In 2017 and 2018, United and its MAOs executed the required
                     28
                                                                    26
                                                              COMPLAINT
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                            1   attestations regarding the accuracy of its reported risk adjustment data and were
                            2   fully aware of their obligation to correct any errors in such data which became
                            3   known to it at a later time. United had ample opportunity to correct its 2017 and
                            4   2018 risk adjustment data submissions to CMS given that following the deadline
                            5   for submitting the risk adjustment data, there is a reconciliation period created for
                            6   the very purpose of allowing MAOs to add or delete claims. Furthermore, there is
                            7   no deadline to return monies owed to the United States to which United is not
                            8   entitled.
                            9         52.     Nevertheless, United knowingly concealed that the HCC diagnoses
                           10   that it submitted to CMS in 2017 and 2018 were false in order to retain increased
                    Y
                  Q N
                           11   risk adjustment payments from CMS to which they were not entitled while at the
                  ~ O

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       Z- a
                           12   same time denying claims containing the same diagnoses and assessing and
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       ~ ~~Q      ~ LL
                           13   collecting overpayments from the Medicare Sample Hospitals and other hospitals
           L.1.   C J


           Q ~a   Q U      14   based on their denial ofthe same diagnoses.
       Z `N
                    W      15         53.     Relators estimate that as a result of this fraud scheme, United
           J "' ~
           W c~ z
       Zo~                 16   wrongfully retained more than $1 billion of the tax payers' money in 2017 and
        ~o
                  ~ J

                           17   2018 alone.
                           18                             FIRST CAUSE OF ACTION
                           19                 FALSE CLAIMS ACT: REVERSE FALSE CLAIMS
                          20                                31 U.S.C.§ 3729(a)(1)(G)
                          21                                     (Against United)
                          22          54.     The United States repeats and re-alleges the allegations contained in
                          23    Paragraphs 1 to 53 above as though theY are fullY set forth in this paragraph.
                          24          55.     Between 2017 and the present, defendant United knowingly concealed
                          25    or knowingly and improperly avoided or decreased an obligation to pay or transmit
                          26    money or property to the United States by failing to delete or correct incorrect
                          27    diagnoses in the RAPS system that it submitted to CMS to support the Medicare
                          28    Advantage risk adjustment payments that it received in 2017 and 2018 and failing
                                                                        27
                                                                    COMPLAINT
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            1   to refund the risk- adjustment overpayments it received for those years based on
            2   those incorrect diagnoses to CMS when it had actual knowledge that those reported
            3   diagnoses were incorrect because United had denied the claims containing such
            4   diagnoses or because United and the United RACs had subsequently denied those
            5   diagnoses in audits ofthe Medicare Sample Hospitals and other hospitals.
            6         56.    By virtue of defendant United's acts of concealment and improper
            7   avoidance of its obligation to refund Medicare Advantage risk adjustment
            8   payments, the United States incurred damages, according to proof at trial, and
            9   therefore is entitled to treble damages under the FCA, plus a civil penalty for each
           10   violation ofthe statute.

    ~ N
           11                              SECOND CAUSE OF ACTION
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Z          12                       FALSE CLAIMS ACT: CONSPIRACY
Q ~=
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           13                                31 U.S.C.§ 3729(a)(1)(C)
    C J


a ~a
= Q U      14                                (Against All Defendants)
Z   ~ N

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~ ~~WJ     15         57.    The United States repeats and re-alleges the allegations contained in
J _ ~
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Z~a o y
           16   Paragraphs 1 to 56 above as though they are fully set forth in this paragraph.
      Q
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           17         58.    Between 2017 and the present, defendants United, Cotiviti, Equian,
           18   Equiclaim, MedReview, Ciox, HMS, SCIO and Optum knowingly combined,
           19   conspired, and agreed to violate the FCA by knowingly and improperly avoiding or
           20   decreasing United's obligation to pay or transmit money or property to the United
           21   States by failing to delete or correct incorrect diagnoses in the RAPS system that
           22   United submitted to CMS to support the Medicaxe Advantage risk adjustment
           23   payments that United received in 2017 and 2018 and failing to refund the risk
           24   adjustment overpayments that United received for those years based on those
           25   incorrect diagnoses to CMS when United and United RACs had actual knowledge
           26   that those reported diagnoses -were incorrect because United had denied the claims
           27   of the Medicare Sample Hospitals and other hospitals containing such diagnoses or
           28   because United and the United R.ACs had subsequently denied those diagnoses in
                                                        28
                                                   COMPLAINT
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                    1   audits ofthe Medicaxe Sample Hospitals and other hospitals, in violation of Title 31,
                    2   United States Code, Section 3729(a)(1)(G).
                    3         59.    By virtue of the participation of defendants United, Cotiviti, Equian,
                    4   Equiclaim, MedReview, Ciox, HMS,SCIO and Optum in this conspiracy to violate
                    5   the FCA, the United States incurred damages, according to proof at trial, and
                    6   therefore is entitled to treble damages under the FCA, plus a civil penalty for each
                    ~ ~ violation ofthe statute.

                    8                                          PRAYER
                    9         WHEREFORE, the United States requests that judgment be entered in its
                   10   favor and against United as follows:

         O N
                   11         1.     On its First Cause of Action for Reverse False Claims, for the amount
     a   Q O
         _ O


     J "°'         12 ~ of the United States' damages, trebled as required by law, together with the
     z
     Q ~z
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     0 7
                   13   maximum civil penalties allowed by law, costs, postjudgment interest, and such
         ~ J


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          U        14   other and further relief as the Court may deem appropriate.
     Z   ~ y
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         c W
              -~   IS         2.     On its Second Cause of Action for Conspiracy to Violate the FCA,for
     J "~
     W c~ z
     Z ~a          16   the amount ofthe United States' damages, trebled as required by law,together with
       ~o oN
                   17   the maximum civil penalties allowed by law, costs, postjudgment interest, and such
                   18   other and further relief as the Court may deem appropriate.
                   19                                          Respectfully submitted,
                   r~ Dated: October 17, 2019                  NELSON HARDIMAN LLP
                   21
                                                               By:
                   22                                                Katherine A. Bowles
                                                                     Mark S. Hardiman
                   23                                                Lee S. Arian
                   24                                                Attorneys for Relator
                                                                     Advantage Analytics, LLC
                   25

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                                                           COMPLAINT
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                        1                           DEMAND FOR JURY TRIAL
                        2          The United States of America hereby demands a trial byjury.
                        3                                       Respectfully submitted,
                        4     Dated: October 17, 2019          NELSON HARDIMAN LLP
                        5
                                                               By:
                        6                                             atherine A. Bowles
                                                                     Mark S. Hardiman
                        7                                            Lee S. Arian
                        8                                            Attorneys for Relator
                                                                     Advantage Analytics, LLC
                        9 ~

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                                                        DEMAND FOR JURY TRIAL                                I
